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       In The United States Court of Federal Claims
                                          No. 09-20C

                                      (Filed: July 2, 2010)
                                           __________
 BENTON SALMON d/b/a SALMON
 CONSTRUCTION,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          _________

                                           ORDER
                                          __________

       A telephonic status conference will be held in this case on Tuesday, July 20, 2010, at
10:00 a.m. (EDT). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.




                                                              s/ Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
